                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007

                                                      December 16, 2024

By ECF
The Honorable Lewis J. Liman
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:     Chan, et al. v. U.S. Dep’t of Transp., et al., No. 23 Civ. 10365 (LJL)
               Mulgrew, et al. v. U.S. Dep’t of Transp., et al., No. 24 Civ. 1644 (LJL)

Dear Judge Liman:

        I write on behalf of the Federal Defendants and the MTA Defendants to respond to
Plaintiffs’ letter filed earlier this evening regarding the schedule for Friday’s hearing. See No. 23
Civ. 10365, Dkt. No. 155. It was our understanding based on the briefing schedule adopted by the
Court, see Dkt. No. 132, that the Court intended to address all fully briefed motions in these matters
during Friday’s hearing so that all outstanding issues could be resolved in advance of the
anticipated January 5, 2024, implementation date for Congestion Pricing. As such, the defendants
are prepared to address questions on all motions, including the pending motions to dismiss and the
cross-motions for summary judgment on Plaintiffs’ remaining NEPA claims. However, if the
Court determines that a narrower set of issues should be addressed at Friday’s hearing, we will, of
course, limit our arguments accordingly.

                                                  Respectfully Submitted,

                                                  EDWARD Y. KIM
                                                  Acting United States Attorney

                                           By:       /s/ Zachary Bannon
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